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To the Honorabie Judge Lioi,

Since January 6, 2023, | have been a federal detainee at N.E.0.C.C. in Youngstown, Ohio.
During this time, | vowed to work on several aspects of my life in preparation for what is yet to
come in my future to ensure | am prepared for what awaits me. Due to the extremely limited
library resources available at N.E.0.C.C., my wife has generously sent me books and reading
materials to assist in my development.

The most difficult exercise was to work on my past and to somehow understand how | ended up
in such a dark and desolate place. | began a painful journey that made me finally face and
understand the impact and effect of underlying depression, Books were read that dealt with
depression, pornography and addiction. My wife and | have studied and discussed marital
topics over the phone to resolve problems that not only arose from these issues, but had
probably been dormant in our marriage for years. While there are still components | do not
understand at this time, the path to understanding has been dramatically important to me. The
reading, along with the counseling and therapy | had started before my incarceration will
continue as | can definitely see the benefits of these activities already.

Knowing my actions caused significant pain to my family and friends and impacted my
community and my workplace has made life nearly unbearable. Being confined allowed me to
reflect and work on self improvement that my mind and soul greatly needed. During this time |
have worked hard at developing my faith. | have been a devout Messianic Christian for many
years and before that grew up in a devoted Evangelical Protestant home. Some of the most
meaningful works I've read have been during this past year and have involved matters of faith
and philosophy.

Moving forward, | intensely desire to provide for my family and benefit my community. My
former career as a teacher is now in my past, and | must work to prepare for another career
which will allow me to be productive once my time of incarceration is completed.

Your Honor, my desire in sharing this was to demonstrate and show a portion of the work | have
embarked upon in this past year. | know my actions have hurt so many people and | am
committed to continuing to learn and work on myself to ensure that | will never repeat the
behavior that led me to this current place in my life. | want nothing more than to be accepted
back into a renewed life by my family and community.

Kevin Hedrick
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November 26, 2023

The Honorable Judge Lioi
United States District Judge

Your Honor,

It has been my privilege to know Kevin Hedrick and his wife, children, and extended family for
about five years as | served as pastor of Beth Tikkun Messianic Fetlowship. | know Kevin to be a
devoted husband and father, and he has been a generous and kind friend to me during the
years | have known him. We and our families have spent time in one another’s home and
worked on various projects together. He comes from a strong, stable and close-knit family.

As a pastor of twenty-six years, | know firsthand the destructive power of temptation — espe-
cially in a man’s life. And though | do not deny the immoral choices Kevin Hedrick has made,
neither do | deny the power of his complete repentance regarding those choices. We have spo-
ken on several occasions concerning the circumstances that led to his moral failing, and he

knows that | am committed to remaining his friend and serving as a mentor to assist in his spir-
itual growth and development.

Some men never overcome their own moral failings, but Kevin is not one of them. Shame has
had its corrective influence in his heart and mind, and | am fully convinced that its impact on
Kevin’s life is a lasting and permanent one.

Though | regret (as does Kevin) the choices he has made and the immoral direction they were
leading him, | do not regret the time he has had to serve consequently. It has been extremely
difficult and painful for him, but it has also had a refining influence on his character, as my con-
versations with him have borne out. But the most painful and difficult thing of all for Kevin is in
his realization of the pain, stress, and shame he has brought to his wife and family. However, his
character is such that | am convinced he will spend the rest of his life repairing every bit of that
damage and restoring his family’s confidence in him. ! know Kevin to be a good man, and his re-
cent experience will only serve to make him a better one.

Respectfully yours,

LMA kite

L. Grant Luton
1501 Lomalinda Cir. NW
Uniontown, OH. 44685
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gf

The Honorable Judge Lioi
United States District Judge

November 9, 2023

To the Honorable Judge Lioi

Re: Kevin Hedrick

Kevin began regularly attending our church around June 2022. Kevin and his wife,
Alyssa, were already known, liked and respected by a number of our church members.
Over the next few months, I had several friendly conversations with Kevin about faith
and our common interest in hunting and the outdoors. I was pleasantly surprised when
he signed up for an evening Bible study class in September, even though he was nota
member and had recently begun attending.

All the pastoral staff was stunned and concerned when Alyssa called to make us aware of
the situation. ] reached out to our legal counsel and toa child safety firm (MinistrySafe)
specializing in churches to get a handle on what the charges meant and how to wisely

provide care. I was informed the charges were serious.

immediately upon the initiation of the investigation, Kevin reached out to us for counsel
for himself and his marriage. I have record of the following ineetings:
1. With Kevin eight times for counsel from October 28, 2022 to January 5, 2023
(dates: 10/28, 11/8,11/17, 71/22, 11/25, 12/8, 12/29, 1/5/2023- phone cal)).
2, With Kevin and Alyssa four times (dates: 10/28, 11/8, 11/17, 12/8).
3. Tcounselled Alyssa over the phone on 1/10/2023 and in person on 1/14/2023.

In these counselling sessions | probed deeply into their marriage relationship. They were
both open about areas of weakness and sin. Additionally, | equipped two couples to meet

with thei. men with Kevin and women with Alyssa - weekly for care and accountability.

Covenant of Grace

3400 Copley Road, Copley, Ohio 44321 (330) 665-5500 cogc.org
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The men were reading through a book I assigned them. Both Kevin and Alyssa actively

engaged with these couples, by sharing their struggles and inviting inspection.

In all the meetings with the couples and me, Kevin and Alyssa seemed to be earnestly
looking for help. Kevin never seemed to hold back when answering my personal
questions. Kevin and Alyssa did the homework readings J assigned, including a book on

marriage.

In all my counselling and calls with Kevin, he appeared to express deep remorse for his
sins, at times with tears. ] pressed Kevin to discern between regret for the consequences of
his actions and remorse for his actions. Although he was greatly affected by the

consequences for his family, Kevin seemed deeply repentant for his sins.

Kevin responded humbly and positively to specific challenges to improve his relationship
with Alyssa. He opened up with Alyssa over issues he had previously hidden. I was able to
observe a restoration of trust between them. Through all the counselling | was impressed
by Alyssa’s abiding trust in and commitment to Kevin, even as hidden things were
coming to light. My perspective is they have a good foundation upon which to begin

rebuilding their lives.
Please let me know if I can be of further assistance.

Sincerely,

? To ,

LT —~

Pastor of Care & Counselling

Bert Turner
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Kevin Meduck i my aiid don. J Rove Loum |
drome dence Pure trout uv 1985. We attended the |
goth fe mary yore. Weowing vp Keven Woe
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othurg. J debicue Ae developed an tolmuralte
week ethic prom Dw PMuUnL and atse fue
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Uniontoun Of U4egs

missy farkas@ gma (, Com
330-206-6079
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The Honorable Judge Lioi
United States District Judge,

am writing this letter in regards to Kevin Hedrick. 1am Kevin's brother in law and have known him for
nearly 30 years. We both attended the same church throughout our youth, and Kevin eventually
married my sister, Alyssa. Through the years I’ve been able to interact, engage and socialize with Kevin
in many different scenarios and situations. Throughout the many years and interactions, he has always
handled and represented himself very well.

From as early as | can remember, Kevin was always respectful of his parents, adults and to his peers. He
was also always very kind.

| have always been impressed with Kevin's work ethic and drive to provide. Kevin has exhibited his work
ethic and discipline as he opened and widened his landscaping business to supplement his finances
while going to college. I’ve always impressed with his focus and dedication to balancing college, work
and his relationship with his family.

Kevin has always generously loved and Supported his wife Alyssa and his family. He has provided for her
and their children, while continuing to pursue his education, including his Master's degree. I’ve always
respected Kevin for his character and dedication for supporting his growing family.

Kevin has been part of the family, and has been kind, loving and respectful in all of those interactions. |
have been impressed with his character and am proud of the husband and father he has been to my
sister and their children.

| wanted to send this letter to communicate my observations and opinion.

Thank you for your time,

Mike Evans

1802 Lone Lynx Way

Wylie, Tx 75098

11/20/2023

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Eric Salzwimmer
12808 Mark Path
Doylestown, OH 44230

November 21, 2023

RE: Kevin Hedrick

The Honorable Judge Lioi
United States District Judge

Dear Judge Lioi,

My name is Eric Salzwimmer and Kevin Hedrick is my nephew. I have known Kevin since he was
born. He was raised in a Christian home by parents that taught him to be a good person and to care
about others. Kevin is one of the nicest young men you will ever meet. He always has a smile on
his face and a positive attitude. He is always pleasant, has kind things to say and is never
disrespectful when speaking about anyone.

Kevin is a good husband to Alyssa and a good father to his 6 beautiful children. They all miss him
very much. He always worked hard to provide for his family and was always there to support them
in whatever sports or activities they were involved in. Kevin and his family were also very active

in their church and hosted small group meetings at their home.

Kevin is really close to his parents and they have always had an amazing relationship. They live
next door to each other and he was always available to help them out if they needed anything.

The Kevin I have known for his entire life is a great guy who cares deeply for others and Is always
willing to lend a hand to help anyone in need. He is a special person and his family needs him.

Sincerely,

= Merrime

Eric Salzwimmer
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Alyssa Hedrick
7179 S. Cleveland Massillon Road

New Franklin, Ohio 44216

The Honorable Judge Lioi

United States District Judge

| am writing in regards to Kevin Hedrick, whom | have been in a relationship with for
eighteen years and have had the privilege of being married to for fourteen years. Kevin and |
reside locally with our six children, ages one to twelve years old. | would like to share with you
how | know Kevin and how this situation has impacted our lives and our plans for the future.
Thank you for your service to our Justice System and taking the time to read through this letter.

Kevin met me in a very low place in my life and he helped balance me and showed me
what love really meant. Even then, there was something different about him. Kevin believed in
me in a way that | had never felt before. He was always willing to help others, he was filled with
patience and humor. It was with great joy to my whole family when he proposed.

Kevin and | became parents after my own struggles with endometriosis at a younger age
than we had hoped, yet having our daughter Isabelle completely changed our lives and what we
valued forever. While we were told by doctors that we likely would struggle to have children, to
our delight we were blessed with six living children. Kevin and | have journeyed through the pain
of miscarriages, surgeries, and antenatal and postpartum anxiety and depression. Kevin has
been there in these situations like a steady rock, always attentive to listen, able to make
decisions, and an anchor of love and support in my darkest and hardest moments in life. |
cannot overemphasize his support physically and emotionally that he has provided to me. Over

time, we considered our faith and our children our greatest blessing to work towards, even when

life has been challenging.

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Kevin has been a faithful provider for our family. Even when his entire world felt like it
was crumbling beneath him in fear, Kevin did not let it show to his children. Kevin and | have
been known in our church community, as well as by friends and family, for raising outstanding
children. | attribute that to our combined effort to be intentional with our children. Kevin has
always been the more patient parent. Our eight year old Allison has struggled with temper
tantrums and sensory issues. Kevin would always step in for a big embrace and would bring
calm to her. His ability to be empathetic is a gift that has served him well as a father and
teacher. Kevin is always the emergency go to person. Kevin certainly has the ability to stay calm
in the chaos and | have always admired his ability to handle the long drawn out hours of babies
crying or being patient with me when | was at my mental lowest. He would always be the parent
to say yes to fishing, yes to hiking, yes to one more bedtime story or another round of card
games. Kevin's absence in the house has been heartbreaking in many ways. Simple things like
family dinners and story time stings with the pain of his absence, and my ability to be everything
to everyone is astoundingly difficult. Every one of our children has been impacted by this
situation on a daily basis, in ways that | cannot even bear to grasp. | have had a fear of sending
them to dance classes, sporting activities and even church services because of the exposure
that this has brought onto our family. We want to protect them more than anything in the world.

Kevin and | intentionally have chosen to homeschool our children because we believed
that individualized education was valuable and raising our children with a Classical, Christian
Education was of utmost importance to both of us. When Kevin left in January, he continued to
invest in our children daily and still does. Kevin calls home daily, videos with the children and
helps them with school work by reviewing memory work and other projects with them. Kevin
also has helped our children brainstorm ideas for papers and presentations, as well as heiped
edit their papers.

} know that Kevin was struggling with depression over the years but was afraid to seek

heip. He was deeply embarrassed by this geneticaliy inherited disorder. | also noticed that after

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the birth of our sixth son, Isaac, he appeared to be struggling even more with sadness. He had
been dealing with his own personal health crisis with his eyes (being legally blind) and dealing
with painful injections monthly to help reverse the blindness. The circumstances surrounding
this event are multi-layered and | know Kevin has so desperately wanted the ability to express
them.

With the loss of Kevin’s job, we have had no income and we have had to rely on
donations from family and friends. It has been so difficult to accept “charity” because we have
always been self-sufficient. We have always taken pride and responsibility in providing for our
large family. Last month, | finally broke down and applied for public assistance to ensure my
family had the basic things we need. | have no formal education, and have not worked outside
of the home for over thirteen years. In response to Kevin's plea offer, | knew | would immediately
have to adjust to life at home as now a mother, a father, a provider, an educator and the list
goes on. | responded by enrolling myself into a Bachelor's degree program at Malone University
in Organizational Management. Kevin has been quick to respond in support, though he feels
terrible that | am in a situation where | would even have to add one more thing to my plate. The
truth is that even in his absolute pain and desperation, Kevin calls and helps me with homework
questions and even discussions of the content of my course. When Kevin is released, we hope
to build a business together rehabbing and selling houses. Kevin and | have rehabbed two other
homes in the past and Kevin designed, general contracted, and did most of the work on our
current home. Kevin is very skilled in many areas and is always quick to learn and apply his
talents to serve others. To say he is needed and wanted in the home is an understatement.

From October to January, | spent all day and night with Kevin. | was quite honestly afraid
to leave him alone because | knew he was in such a sensitive situation mentally. Kevin
genuinely poured his heart and soul out to God and responded sensitively with remorse. Once
he became incarcerated in January, | have had to sadly watch Kevin tailspin into a shell of who |

once knew as a strong, smart and confident person. Yet somehow, Kevin still managed to keep

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his family first by calling home and reading to our children, laughing and joking with them and
sharing his love for them.

We hold deep respect for our governing authorities and gladly oblige to any treatment or
monitoring. We understand the seriousness of the charges at hand and respect Kevins plea
agreement. | hope that you will kindly consider this picture of who Kevin is, and that you would
consider favor in his sentencing. Kevin has a teachable heart and seeks nothing more than to

repair what has been broken.

yoo ed uk

Alyssa Hedrick

Sincerely,

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November 26, 2023
Steve Hedrick
7155 Cleveland Massillon Road
New Franklin, OH 44216

The Honorable Judge Lioi,

| am Steve Hedrick and Kevin Hedrick is my son. Since the day | brought him home from the hospital,
we have been inseparable. He was always well behaved and such a joy to be around. | would take
him everywhere with me and he became my sidekick. As he grew, he helped me with outside yard
work, doing maintenance on vehicles, fixing things in the house, etc. 1! wanted to teach him all of the
things that | thought he would need to know as an adult.

My best friend was a home builder, and | learned the craft from him when | assisted in building his
personal home. We built the home that me and my wife currently live in. Kevin was right there with me
throughout the entire process. That was such a great time for us, and the experience of working so
closely together was very special. Kevin was always a quick learner and a hard worker and this was a
great learning experience. Shortly before getting married, he purchased a foreclosed home that
needed a tremendous amount of work. He and |, along with Alyssa and my wife worked on the home
for months. Years later, that home was sold and Kevin and Alyssa designed their own house, and we
built it together. This took a lot of dedication because he was working at the time and had four children
to raise. | am so proud of his work ethic and never being afraid to learn something new.

| know that over Kevin’s life, my wife and | had high expectations for him. We encouraged him to strive
for excellence, but more importantly, to be an honorable person that could serve others and make the
world a better place. But sadly, he is at a dark place in his life right now. But the son that | am proud
of is still there, wanting and willing to redeem himself. We realize the seriousness of the situation that
he placed himself in and do not condone his behavior. | talk to and encourage him every day to be the
person God meant for him to be. But these days, | can hear the pain he is in and | know the regret he
is living with now, and will live with for the rest of his life. | believe that when his sentence is completed,
he will want to be able to help others that have faced similar circumstances. | have no doubt that he
will be a model citizen when he is released. | will be there for him when he has the ability to start his
new life. He wants nothing more than to be able to support his family and to regain a place in society.

| will assist him to the best of my ability to start a business that can be successful.

In conclusion, | hope this letter provides a better understanding of Kevin, beyond the offense. Your
Honor, | thank you for your time in reading this and your thoughtful consideration on this case.

sincerely,

go \\

Steve Hedrick
330-414-1791
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November 17, 2023

The Honorable Judge Lioi
United States District Judge

My life changed at age twenty-eight when | gave birth to Kevin Hedrick. He became my
inspiration to be the best in all that | did, so that he would see me one day as a mother
who devoted her life to God and family and also worked hard to have a successful
career. When | retired, | was asked what my greatest accomplishment was over the 43
years. After consideration, | shared that it was not my career accomplishments, but
instead, | stated that my biggest accomplishment was raising a wonderful son during
that time.

My husband and | have been married for 46 years. We have placed God first in our
lives and home, and as a result, we have been blessed with a wonderful marriage. We
were so happy to watch Kevin transition into a husband and father. | know he loves
Alyssa more than words can express, and am so thankful that she loves him as much in
return. God has blessed them with six beautiful children. Kevin is always so calm with
them, does not raise his voice, listens to their needs, etc. So much time is spent with
them reading, playing, making crafts, woodworking, gardening, etc. And the love they
show him in return is so precious to see.

Around the time COVID restrictions were in place, | could see that Kevin did not have
the same zest for life that he previously displayed. | didn’t notice it then, but | see now
that he was falling into a state of depression, but he did not share that with us. He put
up a facade, hiding his real feelings behind his cheerful face and happy-go-lucky
personality. | know that individuals fight battles they just don’t want to talk about, many
times because of the shame they feel from a disease they don't even have control of. |
should have seen the signs, because | have multiple family members that suffer from
treatment resistant clinical depression, but | just didn’t connect the dots when it came to
my son.

In Kevins absence, we are doing our best to be a support for Alyssa and the
grandchildren. Since their house neighbors ours, we see them quite often. | have
wiped their tears and comforted them more times than | want to count. { have loved and
prayed with them during the times they are feeling lonely and missing him. The
sadness we feel when we have special events (birthdays, holidays, etc.) without him is
indescribable. Alyssa has been an amazing mother to them through all of this, but it is
difficult to be mom and dad at the same time.

Kevin is truly repentant for his actions and has shared his remorse with me on multiple
occasions. The pain we feel as parents as a result of this situation does not even
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compare to the pain that | know he feels and expresses on a daily basis. More tears
have been shed by him in the past year than the first 36 years of his life. Being alone
and in confinement has taught him so much about himself and he has worked hard on
accountability and his own betterment. tam confident that hitting rock bottom has
invoked a response that will never take him on this path again. ! have tried to tell Kevin
that the struggles and trials we face actually serve for our development. Rock bottom
and prison has aged him beyond his physical age. He has gained maturity through
reaching deep inside of himself to fully understand the man God wants him to be.

Your Honor, as | write this letter, | am aware that you will soon be making a decision that
will impact Kevin's life going forward. | am grateful for this opportunity to share my heart
with you and appreciate your time in reading it.

Sincerely,

Christine Hedrick

7155 S. Cieveland Massillon Road
New Franklin, OH 44216

330-730-7321
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Deborah Kelley

143 Durling Drive
Apartment A-16
Wadsworth, Ohio 44281

The Honorable Judge Lioi
United States District Judge

Re: Kevin Hedrick
To the Honorable Judge Lioi:

| am writing in regards to Kevin Lewis Hedrick, my son-in-law. | met Kevin and his parents at
church where both our families attended approximately 30 years ago. At that time | knew who
Kevin was, but did not have a close relationship with him as he was between the age of my
daughter, Alyssa, who he eventually married, and my older sons. | have held the entire family in
high regard since first meeting them and in growing in faith over the years. Kevin and my
daughter, Alyssa, were married August 9, 2009. Since their marrage | have loved Kevin as one
of my own sons.

| understand the serious nature of the events that have led to Kevin's arrest and plea
agreement. My heart is broken over these circumstances, as are the hearts of all who love him
and his wife and children; and most importantly | know Kevin's heart is completely broken and
full of regret.

| would like to tell you about Kevin, as | have witnessed his life over the past 17 or so years.
Before marriage Kevin purchased a house and, with help from Alyssa and his parents, he
worked to prepare a home for them to move into upon marriage. Kevin has always been a hard
worker.

In 2020, while we were in the midst of the covid pandemic, | was a divorced, empty-nester living
by myself in an apartment, very isolated and alone. Being in my sixties, | was considered
‘elderly’ and advised to stay at home; my children were bringing groceries and leaving them on
my front porch. Like many others, it was a very challenging time for me. Kevin and Alyssa had a
full house, however did have a finished bedroom in their basement. |! asked them to consider
allowing me to stay with them when my lease was up in November 2020. They graciously
welcomed me into their home and their lives. In all the time | lived with their family | was always
treated with love, honor and respect from Kevin, Alyssa and the children. We have lived
together, laughed together and cried together. | can honestly say being able to stay with Kevin
and Alyssa’s family and the love and interaction with them and the children has truly been
instrumental, with God’s help, to restore my heart and soul.

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| daily saw Kevin’s interactions with his wife and children and never witnessed any unkindness,
disrespect or abuse. It has been a special and rare blessing to me, as a mother and
grandmother to see their love and faith passed on to my grandchildren.

| am sharing ail this about my life and relationship with Kevin, and the family, as | hope to give
you a glimmer, some insight into my son-in-law, the man | have known and loved for many
years. | have seen the brokenness in his eyes, and could feel the sadness in his heart over
these events. | saw Kevin draw closer to God, before he left home. And | know he is doing his
best to allow God to work in him and change him into the man he wants to be in order to better
serve and love his family and fellow man.

Respectfully yours,

Near kil

Deborah Kelley

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November 29, 2023
120 31% StSW
Barberton, Ohio 44203

The Honorable Judge Sara Lioi
United States District Judge

Re: Kevin Lewis Hedrick

{am writing in support for my nephew and friend, Kevin Hedrick, regarding his upcoming sentencing.

J originally met Kevin at Calvary Wesleyan Church in Barberton Ohio. As a Sunday School teacher |
had the privilege of meeting and teaching Kevin when he was about 7 years old. He was a delightful,
happy, respectful, friendly child, and 1 loved the time 1 shared with him in class. He was a very
attentive and wonderful student.

In 2009 we had the honor of welcoming him into our family, when he married my niece Alyssa. Kevin
has been a part of my family for the last fourteen years.

J] am very fond of Kevin and love him dearly. He has been a good husband, father, family member and
friend. His care for his wife and children has been consistently good and admirable.

1am aware of the legal situation Kevin currently finds himself in. 1 have assured him that lam
supporting him and his family during this unfortunate time. This has been an unexpected situation
that is totally out of character for the man that I know and love. | will do whatever I can do to support
and restore him back to his family and society. I know that Kevin will do whatever he needs to for the
restoration and reconciliation with his family and society.

I truly believe that he is humble and teachable, and will rise to the highest demands placed on him to
restore his family and life.

I have watched Kevin over the years, as a student, friend, son, husband and father. 1 have seen him
grow on many different levels. ] am sure this situation has broken and humbled him, and know that
he has deep regret for the situation. He is a strong, faith-filled young man, and 1 am sure that his hope
is for restoration and restitution towards his wife, children and society.

{am humbly asking for mercy in sentencing my nephew and friend. | truly believe he will whole-
heartedly embrace the opportunity to move forward and rebuild his life in an honorable way.

Sincerely,

Do ucAHl

Dianne Lynn Kelley
330.696.8160
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November 26, 2023

The Honorable Judge Lioi

United States District Court
Re: Kevin Hedrick

As Kevin’s maternal aunt, I have known him his entire life. Through every state of Kevin’s childhood and
into his adult life, I never saw a side of him deserving of criticism. He has consistently been one of the most
polite, kind and respectful individuals with whom I have interacted. When I think of Kevin, I can’t help

but think of his positive attitude, friendly smile, and compassion for people.

Despite speech therapy for many years of his young life, Kevin was not able to overcome rhotacism (unable
to pronounce the R sound), which sometimes led to him being made fun of at school. Instead of becoming
bitter or vengeful, Kevin opened his heart to develop friendships with other students who were different or

unpopular.

Kevin has a deep appreciation and respect for his elders. He developed a close relationship with a
neighboring couple who loved him like he was one of their own grandchildren. Kevin’s oldest son carries

their last name as his first name. Another son carries the name of his maternal grandfather (my father).

Kevin’s love and dedication to his wife and children has always been evident. Whether hunting wild game
and making goose sausage, or planting a vegetable garden, providing for them has been his priority. I have
personally struggled at times with impatience in my marriage and while raising my children, so it has
always stood out to me how patient Kevin was with his children. J can say with cotal honesty that I have

never witnessed him speaking or acting harshly to any member of his family.

I know the lives of Kevin, his wife and children have been permanently and deeply impacted by Kevin’s
actions. My husband and I will continue to be a source of emotional and spiritual support as needed, now

and in the future.

Respectfully,

Mery, Chibi yo

Mary Ankrim
4695 Bliss Drive
Norton, OH 44203
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November 19, 2023

The Honorable Judge Lioi

United States District Judge

| am writing to provide a character reference for Kevin Hedrick who | have known for over 25
years. My purpose is to share my perspective on Kevin's character and the positive impact he

has had on our family.

I first met Kevin through our shared church community where our families attended for many
years. Over time, he became an integral part of our lives, and | have always considered him to
be a genuine and upstanding individual. Kevin and my sister Alyssa began their relationship

after our time at the church, and they were married in 2009.

Throughout the years, Kevin has consistently demonstrated his commitment to his faith.

In a time of need, Kevin extended his kindness to my mother when she needed a home,

allowing her to move in with his family.

In my personal interactions with Kevin, | have always found him to be kind and considerate. We
have shared a positive relationship, and he has been an honest and trustworthy individual.
These qualities, along with his contributions to our family, lead me to provide this letter of

support.
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| trust that you will consider this information as part of the sentencing process, recognizing the

positive aspects of Kevin's character outside of the current situation.
Thank you for your time and consideration.
Sincerely,

Jeff Evans
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November 11, 2023

The Honorable Judge Lioi
United States District Judge

I’m writing to you in regards to Kevin Hedrick and the man he has been in my life. He
married my sister, Alyssa, when I was only nine years old, but I remember the way he entered
all of our lives and was immediately family. I remember being so excited to go over to Kevin and
Alyssa’s house, a young married couple just beginning their lives together, an environment so
full of life and love. The three of us would play video and board games, have cozy meals
together, and enjoy each other’s company. It was so nice to have another brother; and one a bit
closer to me in age than my own.

When his first daughter Isabelle was born there was a change in Kevin; he went from a
cool older brother to a grown-up dad. He was still down-to-earth and had the same kindness and
zeal for life as before, but now also a strength and determination to provide and protect for his
family that I hadn’t yet seen. Kevin stepped into his role as a father.

Their faith has also been an inspiration in my own journey. I have had plenty of times
where I’ve been lost, confused, and discouraged in life; and yet after looking to Alyssa for
counsel, she has shared with me her and Kevin’s faith during times where they were also

struggling. They’ve always trusted in God and his provision for them, even in times that seemed
dismal.

I graduated high school in 2019, and in the desire to be independent I planned to move
into my own place, despite working part-time and only making minimum wage. Rather than
putting all my money towards rent and probably going hungry, Alyssa and Kevin opened their
home to me and my problems. With four children of their own to house and take care of, the last
thing they needed to do was to give home to yet another person, especially one in the midst of
adolescent angst and tribulations that come with becoming an adult. I know I wasn’t the easiest
person to live with, and yet Kevin was so generous to take me into their home. Despite not being
blood, he acknowledged me as family and was more than willing to give me a place to stay, even
converting their basement into a living space. The time, effort, money, and stress of another
person living with them was a sacrifice Kevin was happy to make.

Kevin has always supported and loved Alyssa in their marriage and in the pregnancies
and births of their children. I got married in 2020 in the midst of the pandemic, and Alyssa and
Kevin opened their home to me and my fiance to use their space to get married. Kevin once
again came through in serving me as a brother and a friend.
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I’ve been beyond blessed to have Kevin in my life. I can’t explain or even quantify all the
ways he’s encouraged me personally and in my faith.

Sincerely,

Hailey Bilbrey

gees
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November 18, 2023

Brenda Cutright
14135 Hametown Road
Doylestown, OH 44230

The Honorable Judge Lioi
United States District Judge

My name is Brenda Cutright and Kevin Hedrick is my nephew. As part of a large close-knit
family, I have had many opportunities over the years to spend time with Kevin and his family.
From birth to adulthood, our families vacationed together, had holiday parties, picnics and often
visited with one another.

Kevin is between my son and daughter in age, and growing up they were together very often.
We would visit and they would play together for hours on end. He was a very happy child and it
was always so fun to be around him. He was always kind and respectful to everyone as a child
and young man. He had a very soft spot in his heart for his grandparents and would visit them
often. He and his parents would also vacation with his grandparents every year until they were
no longer abie to do so.

Kevin has a strong faith in God. He also has a strong bond with his parents and family. He has
always worked hard to provide for his family and show them the same love that he receives
from his parents. Kevin is very active in the lives of his children. He reads them bed-time
stories, plays in the yard with them, takes them exploring, helps them with having a vegetable
garden, building forts, raising chickens, attending dance recitals, baseball games and many other
childhood activities. There were several times that I drove by their house and saw him with his
wife and children in the yard playing. They would be sledding, riding bikes, zip-lining and just
running around the yard playing tag.

I wish that you could see him with his family and friends and know how much we love and
support him. While I understand the seriousness of this situation, I hope that you will consider
Kevin’s past when making your decision.

Spncerely

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i a ;
lete \ La
Brenda Cutright j
330-606-2983
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Rebecca Salzwimmer
12808 Mark Path
Doylestown, OH 44230

November 26, 2013
Re: Kevin Hedrick
The Honorable Judge Lioi

My name is Rebecca Salzwimmer and I am Kevin’s Hedrick’s aunt. I have known him
since he was born and babysat him prior to entering preschool. I spent many, many hours
with Kevin as a child, teenager and adult.

Kevin is a very laid-back, easy going person. As a teenager, he did not give his parents
any trouble, he always respected them and followed their rules. I never saw Kevin get
angry or raise his voice. He was always happy and got along well with his cousins as
well as the adults in the family. He has always been a very giving person who was
always willing to help anyone in their time of need. I always loved the way he interacted
with his grandparents (now deceased}. He loved history and would sit and talk with them
about their lives over the years, and even compiled a genealogy scrapbook for them. He
was very thoughtful and a pleasure to be around.

Kevin is a wonderful husband and father. He is very active in his children’s lives,
including academic and extracurricular activities. He is a supportive husband and always
encouraged his wife to pursue her dreams. They are raising six amazing children that are
well behaved and a joy to be around. I can see that his wife and children miss him
tremendously.

Kevin’s immediate and extended family support him, his wife and children. [ love Kevin
as if he were my own son. I am hoping that he will receive a minimal sentence. Thank
you so much for the opportunity to share the Kevin I have known for 38 years.

Respectfully, , “AN
OK
Ut tca ff

Rebecca Salzwim
Case: 5:23-cr-00041-SL Doc #: 25-1 Filed: 12/14/23 26 of 35. PagelD #: 170

BRUCE BILBREY

10242 Silvercreek Rd., Doylestown, OH | mercy@xyf.us

12/4/2023

To Whom It May Concern:

My experience with Kevin is not extensive, but is, in fact, substantial. My son is wed to Mr. Hedrick’s
wife’s sister. My interactions with him have been of a most pleasant nature. His love, generosity, and
ebullience have left on my wife and me indelible positive regard for him. His love of his wife and six
children has always been endearing and inspiring. On at least two occasions, he let others into his
home to reside there for extended times when they were without a home. He hosted my son’s
wedding to his sister-in-law at his home during the height of the Covid19 pandemic when venues
were closed. He has had my wife and me for dinner, where he cooked the main dish, and prayed
earnestly and genuinely in thanks before we received the meal. That Mr. Hedrick’s children have love
and discipline in their life is evident in their exemplary behavior. They are warm, well-behaved, caring
children. In conclusion, my family’s experience with Kevin is one of honor, virtue, love, and mutual
respect. There’s a rarefaction of intact families in these times, yet becoming rarer still is the good,
burgeoning, healthy family. There are six beautiful little children and a stay-at-home mom and wife
that need a father, husband, and provider. My prayer is that Mr. Kevin Hedrick be restored to his
family in minimum just duration.

Sincerely,

Dun Billy,

Bruce Bilbrey
Case: 5:23-cr-00041-SL Doc #: 25-1 Filed: 12/14/23 27 of 35. PagelD #: 171

Rick Jacobson
4681 Wildflower Drive, North Canton, OH 44720
(330) 992-9960 ¢@ (330)807-5514 cell © rick.jacobson50@gmail.com

October 19, 2023

The Honorable Judge Lioi
United States District Judge
Northern District of Ohio

Re: Kevin Hedrick
Dear Judge Lioi,

While I take no joy in the timing or necessity of this correspondence in support of Kevin Hedrick, it is
with great pleasure that I share my observations and opinion of Kevin's character at this time. My wife
and I became aware of Kevin, his wife Alyssa and their family a few years ago when they joined our
church. It is encouraging when your own kids find other couples with common values and build each
other up through shared life experiences and regular Bible study. Without yet knowing them up close, we
had a favorable opinion of the entire family because Rachel and Ethan are extremely discerning about the
people they invest relationship with. Many times Rachel encouraged us to meet them because the
chemistry was great and the ability to help each other out was becoming regular.

Sometime in October of 2022, Rachel and Ethan were made aware of a house for sale across the street
from Kevin's father, Steve Hedrick. For clarity, Steve and his wife live next door to Kevin's family, Ethan
and Rachel bought the house, but it was 50 years old and needed a significant amount of clean-up and
renovation before they could move in. The core crew to get the house ready to live in was Ethan, Steve,
Kevin and me. During many weeks and some weekends, Steve, Kevin and I were there every day working
hard, breaking for lunch and having periodic dinners at Kevin and Alyssa's house. I did not realize at the
time what an impact working on that house would have, but it is fair to say it expanded our family size
and friendships. Today Steve Hedrick is one of my closest friends and we feel like an adopted aunt and
uncle to Kevin and Alyssa.

In describing Kevin, the first words that jump out are caring, hard working and family oriented. He really
has an interest in other people, but not in a way that draws attention to himself. 1 was amazed at how
many hours he contributed to working on a house that wasn't his, particularly when your own six kids are
waiting for you across the street with likely other projects needing attention at home. He never
complained, about anything, and did everything someone asked of him and more. He is full of the same
good and sarcastic humor that I am, which means he is intelligent and still likes to make people laugh. The
times we dined at Kevin's house, it is clear and convincing that he and Alyssa are raising and nurturing
their kids right with respect, humor, and love. Their kids appear to be the ones that will do well in the
world, not a sentiment I share about all of my friends' kids or extended families.

From the beginning of this episode, until Kevin surrendered to incarceration, he continued to work on the
house with me and his dad; | was amazed at his composure and disappointment for letting people down.
While Kevin's and his parent's world seemed to be falling apart, Kevin stayed true to himself, his family
and his good friends. I know the stress was pretty bad then as I'm sure it is now. I've heard from Kevin's
dad how remorseful Kevin is about this mess and I believe that is true.
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Re: Kevin Hedrick
Page 2

There seems to be a reason our families have come together for such a time as this. | am very proud to be
a friend or adopted in-law to Kevin and J look forward to many more great times when this episode is
behind him.

Finally, thank you for allowing me to share my thoughts. I pray that great wisdom goes into all of the
outcome this case deserves.

Regards,
{

Rick J a¢obson

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The Honorable Judge Lioi

United States District Judge

John F. Seiberling Federal Building and U.S. Courthouse
Two South Main Street, Room 526

Akron, OH 44308-1813

November 6°", 2023

Dear Honorable Judge Lioi,

It has taken a number of hours to articulate what to share with you, so | ask that you
spare a few minutes to consider what ! would like to say on behalf of Kevin Hedrick.

My husband Ethan and | first met Kevin and Alyssa Hedrick through our church in the
spring of 2021. Long before we were officially introduced, several elders and friends told us we
needed to get together with Kevin and Alyssa because we had so much in common. Not
surprisingly, once we finally met, it didn’t take tong before we were making dinner plans
together almost every other week and in general, looking for excuses to spend time together.

| vividly remember being impressed as we spent more time with Kevin and Alyssa
because Kevin was so capable and attentive to the needs of the household — which are many
when you have six children! On many occasions | witnessed Kevin jump right in the kitchen to
help with dishes without complaint. In fact, it was usually with a smile because Kevin always
had a smile.

Something i’ve admired about Kevin in the midst of this trial has been his joyful spirit.
Most people can only wish their glass was as full as Kevin’s. While | know there have been many
hard and disappointing days and nights, every time we’ve had the chance to briefly see or speak
with Kevin, he has a smile. His passion even in prison is contagious and he can’t wait to tell us
all about the latest book he’s been reading or subject he’s been studying. | consider it a sign of
someone with integrity that no matter what his circumstances, he’s going to make the best of
it.

I'm excited for Kevin to come home for many reasons but largely because | know Kevin
is a man who strives for excellence and | have zero doubt that Kevin is going to apply all he’s
learned in ways that benefit his family and community. We’ve missed our dear friend and look
forward to establishing a new normal as we encourage one another to raise our kids to be
better than we are.
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Kevin has been humbled by this experience, yet he has a teachable heart. | ask now for
your favor upon him; and that you would be richly blessed in return.

Respectfully,

Ke a
fie Z
Ravhel Schenck
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The Honorable Judge Lioi

United States District Judge

John F. Seiberling Federai Building and U.S. Courthouse
Two South Main Street, Room 526

Akron, QH 44308-1813

November 28"", 2023

Dear Honorable Judge Lici,
I'd like to share my personal experiences with Kevin Hedrick.

Kevin and | first met through our church in the spring of 2021. We immediately
connected over our shared interest in competitive sports and history. Over the following
months we and our families saw each other regularly, and attended a number of sporting
events together.

it was clear from the very beginning of our relationship that Kevin was a devoted father
and capable husband. His attentiveness to the needs of his wife and children were something |
aspired to. He made raising 6 children look far easier than | felt my daily life raising 3. In that |
felt that | had much to learn from Kevin. All of his children are articulate, kind, well socialized,
and of tremendous moral character.

While | was feeling overwhelmed by seemingly trivial difficulties, Kevin and Alyssa
handled seemingly impossible situations that were an order of magnitude more difficult with
grace, both with their children and members of their community.

Kevin and his Dad were the ones who helped us find the house we are living in currently.
We had moved to Chio from New Hampshire, and had been house searching unsuccessfully for
almost 2 years. Kevin and his Dad tock it upon themselves to find a unique opportunity, make
the appropriate introductions for us, and help us design the remodel from scratch. They then
proceeded to donate hundreds of hours of labor doing everything from hanging drywall,
painting, laying flooring, cutting trim, hanging tile, plumbing, installing kitchen cabinets, and so
much more. On top of this they helped introduce us to dozens of connections with
subcontractors and material vendors. Their contribution would be worth tens of thousands of
dollars

They literally helped us find the house before it went to market and remodel it by
ourselves. After almost 2 years of fruitless house searching, Kevin and his family found us a
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house and helped forge it into a dream home for our children, asking nothing in return. For that
| wili forever be grateful.

Outside of the home, Kevin challenged me to be a better competitor, a better
businessman, and a better provider. He consistently raised the bar for what it meant for me to
be an attentive, effective leader in my community and workplace.

For these reasons | implore you to grant Kevin leniency.

lam not a man of many words, but | hope | have been convincing in my request, and
clear in my reasoning for making such a request.

Respectfully,

4 4 i x X | =a
Ethan Schenck .

7140 S.Cleveland-Massillon rd.
New Franklin, OH 44216
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November 29, 2023

The Honorable Judge Lio
United States District Judge

Re: Character Reference for Kevin Hedrick
The Honorable Judge Lioi,

I trust this letter finds you well. 1 am writing to provide a character reference for Mr. Kevin
Hedrick, whose character and actions I have had the privilege of observing over the past 12
years. | hope to shine a light on a deeper part of Kevin’s character.

During my 2-year homeschooling journey for my two youngest children, Kevin played a crucial
role in making the experience a success. He generously shared his knowledge and expertise on
homeschooling, addressing my questions and ensuring compliance with state requirements.
Kevin’s meticulous review of my children’s work at the end of each year alleviated much of the
anxiety associated with homeschooling. His support during that time was invaluable and greatly
appreciated.

Beyond practical matters, I have engaged in deep conversations with Kevin on various subjects.
His passion and knowledge are evident, but what strikes me most is his ability to guide
discussions back to matters of faith and God. Kevin’s respectful and attentive demeanor makes
every conversation meaningful, and I have always felt heard and cared for during them.

Thank you for considering my perspective on Kevin’s character.
Sincerely,

Kara Figueroa

Woe) ho fy
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Steven C. Smith
4286 S. Hametown Rd, Norton, Chio 44203 | (440) 799-0313 | scsmithi @tive.com

November 23, 2023

The Honorable Judge Lioi

United States District Judge

Re: Kevin Hedrick

Dear Judge Lioi,

| am writing regarding the upcoming sentencing of my friend Kevin Hedrick. Kevin and | met
about six years ago when our wives re-connected through our faith in Christ via Facebook. He and his
wife, Alyssa, soon invited us to their home for dinner and | remember thinking of Kevin as a kind,
welcoming, family man. Over the years our families have grown very close, spending a lot of time
together because of our devotion to shared interests in faith, family, and homesteading. We have also
participated in home church together at each other’s homes with Kevin often being the leader of our

discussions.

| was very surprised when Kevin informed me of the current charges he would be facing. It
sounded far from the character of the man | had come to know. After learning about the situation, Kevin,
myself, and another friend of ours began meeting weekly to support each other and discuss our walk
with God and the challenges we face as men. We shared many intimate conversations at these meetings

and prayed fervently for each other and our families.

From my interactions with Kevin over the years | know that he has a deep love for his family and

wants to do what is right by them. This current situation has driven him to seek the Lord even more

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through prayer and study of scripture. Prior to incarceration, Kevin had been seeking personal

discipleship with our pastor and even now continues in his pursuit of scripture study.

| know that Kevin continues to have the support of his family and friends, which | believe speaks
volumes about his character. | have personally had multiple conversations with Kevin recently and | know
that he is suffering being away from his family. He is clearly remorseful for anything that he has done
wrong. it is with all of this that | am writing to show my support for Kevin and ask for your leniency that

he may receive the shortest sentencing possible.

We look forward to our friend Kevin’s return home. Thank you for allowing me to write this letter!

Sincerely,

Steven C. Smith

Page 2 of 2
